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                           Exhibit N




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       From: "HRS Exemptions" </o=ExchangeLabs/ou=Exchange Administrative Group
              (FYDIBOHF23SPDLT)/cn=Recipients/cn=f3e0c5dc45b4489180399229277dc7f3-
              hrs.exempti>
         Cc: "Chun, Patrick" <patrick.chun@wsu.edu>, "McCoy, Anne R" <amccoy@wsu.edu>, "Blair,
              Bryan Bernard" <bryan.b.blair@wsu.edu>
     Subject: OFFICIAL NOTICE: Religious Exemption Denied
        Date: Mon, 18 Oct 2021 23:09:29 -0000
  Importance: Normal


Dear Nicholas Rolovich:

You submitted a request for an exemption to the COVID-19 vaccination requirement as mandated by
Governor Inslee’s proclamation 21-14.2. This notification confirms that we are unable to approve
your request for an exemption and accommodation based on a sincerely held religious belief,
practice, or observance. We would like to provide additional information on the review process in an
effort to clarify your exemption denial and the University’s approach to each individual request.

Under the proclamation, the University is legally prohibited from allowing workers to engage in work
after October 18, 2021, if they are not fully vaccinated against COVID-19, with limited exceptions. One
exception is if a worker has an approved religious accommodation and is thereby exempt from the
vaccine requirement. To qualify for an approved religious exemption from the vaccine requirement:
    · A worker must explain how the vaccine requirement conflicts with their sincerely held religious
       belief, practice or observance; and
    · Must be able to accommodate the unvaccinated worker without undue hardship.

In considering your request for accommodation, the University considered both the information you
submitted as well as your own prior statements to WSU staff and others regarding vaccination. Based
on your comments, in conjunction with the timing of your request for a religious accommodation, the
University questions the assertion that your sincerely held religious views conflict with the University’s
vaccine requirement.

Furthermore, it would pose an undue hardship to the University and/or a threat to yourself and others
to allow you to remain in your position while unvaccinated. The University evaluated the essential
functions of your position to determine whether these possible accommodations would mitigate the
threat posed by allowing you to remain unvaccinated while performing your job duties and also
whether there were possible accommodations that would allow you to effectively perform all of your
duties while remaining unvaccinated.
Based upon the nature of your head coaching responsibilities and core job functions and activities, the
University has determined you cannot safely and effectively do your job without undue hardship to the
University.

We hope this information helps you understand how the University individually evaluated your request.


Thank you,
Washington State University, Human Resource Services
French Administration 139 | Pullman, WA 99164-1014
Phone: 509-335-4521 | Fax: 509-335-1259 | HRS Website: http://www.hrs.wsu.edu




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                                                                                                                       Exhibit N Page 4
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